      Casebelow
The order  19-00043-SMT
                 is herebyDoc 40 Filed 03/08/19
                           signed.                             Entered 03/08/19 08:57:35      Desc Main
                                            Document        Page 1 of 2
     Signed: March 7 2019




                                                       _____________________________
                                                       S. Martin Teel, Jr.
                                                       United States Bankruptcy Judge




                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLUMBIA

          In Re:                                        |
                                                        |
                THOMAS K. STEPHENSON                    |      Case No. 19-00043-SMT
                                                        |      Chapter 13
                         Debtor(s)                      |

           ORDER WITH NOTICE DISMISSING CHAPTER 13 CASE ON MOTION OF
           CHAPTER 13 TRUSTEE FOR FAILURE TO QUALIFY FOR RELIEF UNDER
                                   CHAPTER 13

                   Upon consideration of the Motion to Dismiss filed by the Chapter 13 Trustee, and it

          appearing that cause exists for this case to be dismissed pursuant to 11 U.S.C. § 109(e) for

          failure to qualify for relief under Chapter 13, it is, by the United States Bankruptcy Court

          for the District of Columbia,

                   ORDERED, that the above-referenced Chapter 13 case is dismissed; and

                   ALL PARTIES ARE HEREBY NOTIFIED that the automatic stay imposed by 11

          U.S.C. § 362(a), is terminated.

          cc:

          Thomas K. Stephenson
          711 49th Street, NE
          Apt #1A
          Washington, DC 20019
Case 19-00043-SMT       Doc 40    Filed 03/08/19 Entered 03/08/19 08:57:35   Desc Main
                                  Document     Page 2 of 2


   Debtor

   Charles M. Maynard, Esq.
   401 E Jefferson St., Ste 208
   Rockville, MD 20850
   Attorney for Debtor

   Nancy L. Spencer Grigsby
   185 Admiral Cochrane Dr., Suite 240
   Annapolis, MD 21401
   Trustee
